                 Case 3:20-cv-05084-BHS Document 30 Filed 04/02/21 Page 1 of 2




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                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
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     TERRELL EDWARD JONES,                             CASE NO. C20-5084 BHS
 8
                               Plaintiff,              ORDER ADOPTING REPORT
 9          v.                                         AND RECOMMENDATION

10   PEDRO S. CHOU,

11                             Defendant.

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13          This matter comes before the Court on the Report and Recommendation (“R&R”)

14   of the Honorable David W. Christel, United States Magistrate Judge. Dkt. 28. The Court

15   having considered the R&R and the remaining record, and no objections having been

16   filed, does hereby find and order as follows:

17          (1)      The R&R is ADOPTED;

18          (2)      Defendant’s motion for summary judgment is GRANTED in part and

19                   DENIED in part. Plaintiff’s claim is dismissed with prejudice, and

20                   Defendant’s request for sanctions is denied as moot;

21          (3)      The Clerk shall enter JUDGMENT and close this case; and

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     ORDER - 1
             Case 3:20-cv-05084-BHS Document 30 Filed 04/02/21 Page 2 of 2




 1         (4)   The Clerk is directed to send copies of this Order to Plaintiff, counsel for

 2               Defendants, and Judge Christel.

 3         Dated this 2nd day of April, 2021.

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                                                BENJAMIN H. SETTLE
                                                United States District Judge

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